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                                                                                               10/26/2021
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
UNITED STATES OF AMERICA,                                      :
                                                               :   ORDER
                                                               :
         -v-                                                   :   21-CR-264 (JLC)
                                                               :
CHAIM DEUTSCH,                                                 :
                                                               :
                           Defendant.                          :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        Without objection from the Government, the Court hereby grants defendant’s

requests for (1) an extension of time to report to the BOP facility at FCI Otisville until 2 p.m.

on November 19, 2021; and (2) an amendment of Paragraph 54 in the “Physical Condition”

section of his Revised PSR to include a notation about his history of tobacco smoking.

        The Clerk is directed to close Docket No. 27 and mark it as “granted.”

        SO ORDERED.

Dated: New York, New York
       October 26, 2021




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